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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

                                                      §
                                                      §
                                                      §
 SHANELLE JENKINS, as                                 §
 surviving spouse, and                                §
 Representative of the Estate of                      §
 ROBERT GERON MILLER                                  §
                                                      §     CIVIL ACTION NO. 4:21-cv-910
         Plaintiff,                                   §
 v.                                                   §
                                                      §     JURY TRIAL DEMANDED
 TARRANT COUNTY                                       §
 SHERIFF’S OFFICE, BILL E.                            §
 WAYBOURN in his official                             §
 capacity as Sheriff of Tarrant                       §
 County, Texas, TARRANT
 COUNTY

         Defendants.


                                   ORIGINAL COMPLAINT


       Plaintiff SHANELLE JENKINS (“Plaintiff”), by and through her attorneys, brings this

action on her behalf, and on behalf of her deceased husband, ROBERT GERON MILLER, for

damages and other legal and equitable relief from Defendants TARRANT COUNTY SHERIFF’S

OFFICE, BILL E. WAYBOURN in his official capacity as Sheriff of Tarrant County, Texas, and

TARRANT COUNTY (collectively “Defendants”), for violations of 42 U.S.C. § 1983, Texas state

tort claims, and any other cause(s) of action that can be inferred from the facts set forth herein.


                                        INTRODUCTION


       1.      This is an action brought by Plaintiff seeking damages from Defendants for acts of

wrongful death; excessive force; inadequate training; negligent hiring, retention, and supervision;

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and intentional infliction of emotional distress committed by members of the Tarrant County

Sheriff’s Office as agents of Defendants or Defendants themselves.

        2.     As a result of Defendants’ unlawful actions, Plaintiff is entitled to recover for

damages pursuant to violations of rights secured under the United States Constitution, including

protections against cruel and unusual punishment; deprivation of rights under 42 U.S.C. § 1983;

and tort claims under the Texas Tort Claims Act, Tex. Civ. Prac. & Rem. Code § 101.001, et seq.

                                 JURISDICTION AND VENUE

        3.     This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331, which

confers original jurisdiction upon this Court for actions arising under the laws of the United States,

and pursuant to 28 U.S.C. §§ 1343(3) and 1343(4), which confer original jurisdiction upon this

Court in a civil action to recover damages or to secure equitable relief (i) under any Act of Congress

providing for the protection of civil rights; (ii) under the Declaratory Judgment Statute, 28 U.S.C.

§ 2201; 42 U.S.C. §§ 2000e et seq., as amended, and (iii) 42 U.S.C. §§ 1983 et seq., as amended.

        4.     The Court’s supplemental jurisdiction is invoked by 28 U.S.C. § 1367(a), which

confers supplemental jurisdiction over all non-federal claims arising from a common nucleus of

operative facts such that they form part of the same case or controversy under Article III of the

United States Constitution.

        5.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because a substantial

part of the events or omissions giving rise to the claims asserted herein occurred within this

District.




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                                              PARTIES

       6.        Plaintiff is a person who has been aggrieved by Defendants’ actions. She is and

has been, at all relevant times, a citizen of the United States of America and a resident of the state

of Texas.

       7.        Plaintiff was legally married to Robert Geron Miller at the time of his death on

August 1, 2019.

       8.        Plaintiff is the Executor of the Estate of Robert Miller.

       9.        Defendant Tarrant County Sherriff’s Office is located at 6651 Lake Worth Blvd,

Fort Worth, Texas 76135.

       10.       Defendant Sheriff Bill E. Waybourn is and has been, at all relevant times, acting as

Sheriff of Tarrant County.

       11.       Defendant Tarrant County Municipal Government is located in the state of Texas

and within the Northern District of Texas, Dallas Division.


                                    STATEMENT OF THE FACTS

       12.       Plaintiff was at the relevant time married to, and parented a child with, Robert

Geron Miller.

       13.       Upon information and belief, Mr. Miller was arrested for misdemeanor warrants on

July 31, 2021.

       14.       Mr. Miller was taken to John Cedar Smith Hospital the following morning of

August 1, 2019, and was pronounced dead on or around 5:45 a.m.

       15.       Defendants did not tell Plaintiff that her husband died; she read about it in the

newspaper days later.




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        16.     No cause of death is outlined in Mr. Miller’s death certificate that was given to

Plaintiff nor has she been provided any explanation for her husband’s sudden, and unexpected,

death while in custody.

           AS AND FOR A FIRST CAUSE OF ACTION FOR A VIOLATION OF
                 42 U.S.C. § 1983, Civil Action For Deprivation of Rights
                                    (Wrongful Death)

        17.     Plaintiff repeats and re-alleges the allegations contained in the paragraphs above,

as if fully set forth herein.

        18.     The conduct alleged herein deprived Mr. Miller of rights and privileges secured and

protected by the United States Constitution and the laws of the United States, namely the Fourth

Amendment right to be free from excessive use of force against his person during the course of an

arrest, and the Eighth Amendment right to be free from cruel and unusual punishment while in

custody. These allegations are likely to have evidentiary support after a reasonable opportunity for

further investigation or discovery.

        19.     Plaintiff’s requests for relief are set forth below.


         AS AND FOR A SECOND CAUSE OF ACTION FOR A VIOLATION OF
                42 U.S.C. § 1983, Civil Action For Deprivation of Rights
                                   (Excessive Force)

        20.     Plaintiff repeats and re-alleges the allegations contained in the paragraphs above,

as if fully set forth herein.

        21.     The conduct alleged herein deprived Mr. Miller of rights and privileges secured and

protected by the United States Constitution and the laws of the United States, namely the Fourth

Amendment right to be free from excessive use of force against his person during the course of an

arrest, and the Eighth Amendment right to be free from cruel and unusual punishment while in




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custody. These allegations are likely to have evidentiary support after a reasonable opportunity for

further investigation or discovery.

        22.     Plaintiff’s requests for relief are set forth below.



          AS AND FOR A THIRD CAUSE OF ACTION FOR A VIOLATION OF
                42 U.S.C. § 1983, Civil Action For Deprivation of Rights
                                 (Inadequate Training)

        23.     Plaintiff repeats and re-alleges the allegations contained in the paragraphs above,

as if fully set forth herein.

        24.     Defendants Tarrant County Sheriff’s Office, Sheriff Bill E. Waybourn, and Tarrant

County are also liable under 42 U.S.C. § 1983 because (1) Defendants’ training procedures relating

to arrests, interactions with community members, and appropriate force are inadequate; (2)

Defendants were deliberately indifferent to the constitutional rights of the public in adopting the

training policies; and (3) the inadequate training has directly caused Plaintiff’s damages. These

allegations are likely to have evidentiary support after a reasonable opportunity for further

investigation or discovery.

        25.     Plaintiff’s requests for relief are set forth below.

         AS AND FOR A FOURTH CAUSE OF ACTION FOR A VIOLATION OF
                42 U.S.C. § 1983, Civil Action For Deprivation of Rights
                              (Official Policy or Custom)


        26.     Plaintiff repeats and re-alleges the allegations contained in the paragraphs above,

as if fully set forth herein.

        27.     Defendants Tarrant County Sherriff’s Office and Sheriff Bill E. Waybourn are

liable under 42 U.S.C. § 1983 because the deprivation of Mr. Miller’s constitutional rights was

inflicted pursuant to their official policies or customs. Such policies or customs were a direct cause-


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in-fact of the deprivation of Mr. Miller’s constitutional rights. The policies or customs were the

proximate cause of the injuries sustained. The policies or customs reflect a deliberate indifference

to the risk that a violation of a constitutional or statutory right will result from following the

policies or customs. These allegations are likely to have evidentiary support after a reasonable

opportunity for further investigation or discovery.

        28.     Plaintiff’s requests for relief are set forth below.


                          AS AND FOR A FIFTH CAUSE OF ACTION
                          Negligent Hiring, Retention, and Supervision

        29.     Plaintiff repeats and re-alleges the allegations contained in the paragraphs above,

as if fully set forth herein.

        30.     Defendants Tarrant County Sherriff’s Office, Sheriff Bill E. Waybourn, and Tarrant

County had a duty to protect Mr. Miller from harm resulting from their employment of law

enforcement officials that committed unlawful acts against Mr. Miller. Defendants breached that

duty by hiring, retaining, and failing to train, supervise, or discipline these employees. The conduct

of Defendants proximately caused Plaintiff significant damages.

        31.     Plaintiff’s requests for relief are set forth below.

                          AS AND FOR A SIXTH CAUSE OF ACTION
                           Intentional Infliction of Emotional Distress

        32.     Plaintiff repeats and re-alleges the allegations contained in the paragraphs above,

as if fully set forth herein.

        33.     Defendants’ and/or Defendants’ agents’ conduct was intentionally negligent. As a

result of Defendants’ and/or Defendants’ agents’ actions, Plaintiff experienced severe emotional

distress.

        34.     Plaintiff’s requests for relief are set forth below.


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                                      PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests judgment against Defendants as follows:
        A. Declaring that the practices complained of herein are unlawful and in violation of the

            rights of the Plaintiff under U.S. Const. Amend. IV, U.S. Const. Amend VIII, and 42

            U.S.C. § 1983;

        B. Awarding all damages which Plaintiff has sustained as a result of Defendants’ conduct,

            including for physical injuries, medical bills, emotional distress, and anguish;

        C. Pre-judgment and post-judgment interest, as provided by law;

        D. Awarding Plaintiff punitive damages in an amount commensurate with Defendants’

            ability and so as to deter future malicious, oppressive, and/or malicious conduct;

        E. Granting Plaintiff reasonable and necessary attorneys’ fees and expenses which

            Plaintiff has incurred and will continue to incur during all trial and appellate court

            proceedings pursuant to 42 U.S.C. § 1988;

        F. That the Court retain jurisdiction over Defendants until such time as it is satisfied that

            they have remedied the practices complained of and are determined to be in full

            compliance with the law; and

        G. Awarding Plaintiff such other and further legal and equitable relief as may be found

            appropriate and as the Court may deem just or equitable.

Plaintiff also seeks injunctive relief, including, but not limited to:

         A. Training on appropriate force and de-escalation tactics for all law enforcement

             officials employed by Defendants;

         B. Supervisory discipline up to and including termination for any agent of Defendants’

             who engages in such unlawful arrest and excessive force;


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        C. Supervisory discipline up to and including termination for John Doe Constables 1 and

            2, or any other agent of Defendants’ involved in the incidents described herein;

        D. Monitoring by the Court or a federal agency to ensure that Defendants comply with

            all injunctive relief.


       Plaintiff further demands that he be awarded such other and further legal and equitable

relief as may be found appropriate and as the Court may deem just or equitable.



Dated: July 30, 2021                                Respectfully submitted,


                                                    /s/David W. Henderson
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                                                    Counsel for Plaintiff




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